                              Case 19-30495 Document 79 Filed in TXSB on 02/12/19 Page 1 of 3


 Fill in this information to identify the case:
 Debtor name Burkhalter Rigging, Inc., et al.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                                   Check if this is an

 Case number (if known):                19-30495                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                               12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 TORTORIGI            Joseph Tortorigi                           Trade Debt             Unliquidated                                                                    $548,751.00
 HAULING INC
 PO BOX 13            Joseph@Tortorigi.
 Trussville, AL 35173 com
                      205-655-8785
 MCDONOUGH            Christine Wale                             Trade Debt             Unliquidated                                                                    $533,361.95
 MARINE SERVICE
 3500 N CAUSEWAY Cwale@mcdonoug
 BLVD                 hmarine.com
 SUITE 900            504-780-8100
 Manvel, TX 77578
 FAGIOLI INC          Federico Dallaglio                         Trade Debt             Unliquidated                                                                    $401,688.00
 21310 HWY 6
 Manvel, TX 77578     f.dallaglio@fagioli.
                      com
                      281-997-3434
 BUCKNER              Michael Holt                               Trade Debt             Contingent                                                                      $389,138.37
 HEAVYLIFT                                                                              Disputed
 CRANES LLC           michaelh@buckner
 4732 NC 54 E         companies.com
 Graham, NC 27253     336-376-8888
 MAXIM CRANE          Kelly Shelton                              Trade Debt             Unliquidated                                                                    $359,237.65
 WORKS
 LOCKBOX 774389       kshelton@maximcr
 4389 SOLUTIONS       ane.com
 CENTER               979-233-6361
 Chicago, IL 60677
 HOVAGO               Marcel Riemslag                            Trade Debt             Unliquidated                                                                    $357,000.00
 GALVANISTRAAT
 35                   Riemslag@hovago.
 3316 GH              com
 DORDRECHT            31-10-892-0475
 THE NETHERLANDS
 TRINITY LOGISTICS Hannah Rogers                                 Trade Debt             Unliquidated                                                                    $348,530.74
 INC
 PO BOX 62702         hannah.rogers@tri
 Baltimore, MD        nitylogistics.com
 21264-2702           302-536-2466

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                              Case 19-30495 Document 79 Filed in TXSB on 02/12/19 Page 2 of 3



 Debtor    Burkhalter Rigging, Inc., et al.                                                                   Case number (if known)         19-30495
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 TRUSTMARK                       Heather Clark                   Trade debt             Unliquidated                                                                    $315,486.86
 CREDIT CARD
 CENTER                          HEATHER_CLARK
 PO BOX 143                      @TRUSTMARK.CO
 Jackson, MS 39205               M
                                 1-800-243-2524
 CREATIVE                        Lindsey Herrington Trade Debt                          Unliquidated                                                                    $294,930.78
 LODGING
 SOLUTIONS LLC                   lindsey.herrington
 PO BOX 896065                   @yourcls.com
 Charlotte, NC 28289             859-381-1825
 CAPITAL CITY                    Nick Salvatore                  Trade Debt             Disputed                                                                        $272,418.75
 GROUP, INC.
 2299 Performance                nsalvatore@ccgrou
 Way                             p-inc.com
 Columbus, OH                    614-278-2120
 43209
 RITTER FOREST                   Sharon Hartford                 Trade Debt             Unliquidated                                                                    $223,517.15
 PRODUCTS INC
 PO BOX 1265                     sharon@ritterlumb
 Nederland, TX 77627             er.net
                                 713-673-4800
 RISS CARGO                      Christi Smith                   Trade Debt             Unliquidated                                                                    $164,225.75
 MANAGEMENT
 ONE ST LOUIS                    csmith@risscargo.
 CENTRE                          com
 SUITE 5000                      251-219-3348
 Mobile, AL 36602
 DUTCH OIL CO.,                                                  Trade debt             Disputed                                                                        $162,156.17
 INC.
 PO BOX 2323
 Columbus, MS
 39704-2323
 ROADRUNNER                      Michael Wildt                   Trade Debt             Unliquidated                                                                    $144,368.75
 TRANSPORTATION
 PO BOX 95000                    mwildt@ascentgl.c
 Chicago, IL                     om
 60694-5000                      888-656-8848
 HEATH &                                        Professional                            Unliquidated                                                                    $143,868.38
 LINEBACK                        PZACHARY@HEAT Services
 ENGINEERS INC                   H-LINEBACK.COM
 2390 CANTON RD                  770-424-1668
 BUILDING 200
 Marietta, GA 30066
 FLEET                           Heather Dale                    Trade Debt             Unliquidated                                                                    $140,595.00
 MANAGEMENT
 221 N HOGAN ST                  heather@fmsgl.co
 SUITE 367                       m
 Jacksonville, FL                904-516-9940
 32202




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                              Case 19-30495 Document 79 Filed in TXSB on 02/12/19 Page 3 of 3



 Debtor    Burkhalter Rigging, Inc., et al.                                                                   Case number (if known)         19-30495
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 BURKHALTER                                                      Tractor Rent           Unliquidated                                                                    $138,900.00
 PROPERTIES                      INFO@BURKHALT
 PO BOX 9360                     ER.NET
 Columbus, MS
 39705
 CERES                           Diana Szolga                    Trade Debt                                                                                             $126,800.93
 CONSULTING LLC
 3808 COOKSON                    dianas@ceresbarg
 ROAD                            e.com
 East Saint Louis, IL            618-271-7903
 62201
 AMERICAN MAT &                  Cindy Andrews                   Trade Debt             Unliquidated                                                                    $104,257.34
 TIMBER CO
 PO BOX 262448                   candrews@americ
 Houston, TX 77207               anmatandtimber.co
                                 m
                                 713-645-0694
 KENCO BUCKET                    Randy Starnes     Trade debt                                                                                                             $83,736.24
 TRUCKS LLC
 PO BOX 3140                     randy@highloads.c
 DEPT 450                        om
 Houston, TX 77253               281-459-3100




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
